Case 2:07-cr-01048-VBF Document 31 Filed 12/04/07 Pageiof1 Page ID#:73
FILED

MOT DEC -4 AKIO: 07

ti

  
 

> CVSTRICT COURT

eRLGST. OF CALIF,

Lu ' .
GS ANGELES f
hy

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

   

 

 

UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF

Vv C4, 67-1048 —Y¥

 

LASHAWN ANDREA LYNCH
REPORT COMMENCING CRIMINAL

ACTION

 

DEFENDANT(S).

 

TO: CLERK’S OFFICE, U. 8. DISTRICT COURT

All items are to be completed. Information not applicable or unknown will be indicated as “N/A”.
1. Date and time of arrest H#RSRCOT 42/347 ~~: Ld ory & AM / Gem)

2. Charges under which defendant has been booked at Metropolitan Detention Center (MDC):
21;846:841(a)(1),(b)(1)(B)

 

Offense charged is a: WF elony Minor Offense 1 Petty Offense 1 Other Misdemeanor
US. Citizen: WYes ONo OUnknown
Year of Birth: 1981

The defendant is: of Presently in custody on this charge.
0 At liberty on bond posted before a Magistrate Judge.
O At liberty and warrant is requested.
C) Federal - In custody on another conviction.
CO State - In custody awaiting trial on these charges.

Nw pw

7. Place of detention (if out-of-district); N/A
8. Date detainer placed on defendant: N/A
9. This is a reprosecution of previously dismissed charges. (Docket/Case No. N/A

10. Name of Pretrial Services Officer:

 

11. Remarks (if any):

 

 

 

 

12. Date: HRoweor J? /: 7, / O?. 13. Signature: Lipson
14. Name:_§4 £4124 62¢¥ Fale Yl 15. Title: Special Xgent_

 

 

 

CR-64 (07/05) REPORT COMMENCING CRIMINAL ACTION
